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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

    Civil Action Number:

    JESUS GONZALEZ

           Plaintiff,
    vs.

    WINN-DIXIE STORES, INC.
    d/b/a Winn Dixie at Coral Way and
    THE MORRIS TRACT CORP

                  Defendants.
                                                  /

                           COMPLAINT FOR INJUNCTIVE RELIEF

           Plaintiff Jesus Gonzalez (“Plaintiff”), by and through his undersigned counsel,

    hereby sues Defendant Winn-Dixie Stores, Inc. doing business as the Winn Dixie at Coral

    Way and Defendant The Morris Tract Corp for injunctive relief pursuant to 42 U.S.C.

    §§12181-12189 of the Americans with Disabilities Act (“ADA”) and 28 C.F.R. Part 36 and

    alleges:

                                          JURISDICTION

           1.      This is an action for declaratory and injunctive relief pursuant to Title III of

    the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is

    vested with original jurisdiction under 28 U.S.C. §1331.

           2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all

    events giving rise to this lawsuit occurred within the Southern District of Florida and the

    subject premises is located within the jurisdiction of this Court.




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           3.      Defendants are authorized to conduct, and are conducting, business within

    the State of Florida and within the jurisdiction of this court.

                                               PARTIES

           4.      Plaintiff Jesus Gonzalez is a resident of the state of Florida. Plaintiff suffers

    from what constitutes a “qualified disability” under the ADA as he is disabled with

    neuropathy and nerve damage due to radiation and utilizes a wheelchair for mobility.

    Plaintiff’s disability is defined in 42 US Code §12102(1)(A), (2) and in 28 C.F.R.

    §36.105(b)(2) and 28 C.F.R. §36.105(2)(iii)(D).

           5.      Defendant Winn-Dixie Stores, Inc. (also referenced as “Defendant

    Supermarket,” “operator,” lessee” or “co-Defendant”) is a Florida for profit corporation and

    is the owner and operator of the Winn Dixie supermarket located at 3275 SW 22nd Street,

    Miami, Florida 33145, which is commonly referred to as the Winn Dixie at Coral Way.

           6.      Defendant The Morris Tract Corp (also referenced as “Defendant Morris

    Tract,” “lessor,” “owner,” or “co-Defendant”) is the owner of real property identified as

    Folio 01-4109-012-0030 which is a built out as a supermarket.

                                                FACTS

           7.      At all times material hereto, Defendant Morris Tract’s real property has been

    leased to co-Defendant Supermarket (the lessee). The lessee in turn has operated its Winn

    Dixie supermarket within that leased space.

           8.      Winn Dixie supermarkets sell general grocery items and have specialized

    departments for produce, meat, seafood, and baked goods. Many Winn Dixie supermarkets

    have attached pharmacy departments. The Winn Dixie brand is an American supermarket

    chain headquartered in Jacksonville, Florida. Winn-Dixie operates approximately 500 stores




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    in Florida, Alabama, Louisiana, Georgia, and Mississippi. All Winn Dixie supermarkets are

    places of public accommodation pursuant to 42 U.S.C. §12181(7)(E) and 28 C.F.R.

    §36.104(5). The Winn Dixie supermarket located at 3275 SW 22nd Street, Miami which is

    the subject of this complaint is also referenced as “Winn Dixie (supermarket),” “Winn Dixie

    at Coral Way,” “supermarket,” or “place of public accommodation.”

           9.      At all times material hereto, Defendant Supermarket was (and is) a company

    owning and operating supermarkets under the “Winn Dixie” brand which are open to the

    public. Each of the Defendant’s supermarkets (including the Winn Dixie at Coral Way) is a

    place of public accommodation subject to the requirements of Title III of the ADA and its

    implementing regulation; 42 U.S.C. §12182, §12181(7)(E) and 28 C.F.R. §36.104(5).

           10.     As the operator of supermarkets which are open to the public, Defendant

    Supermarket is defined as a “Public Accommodation" within meaning of Title III because it

    is a private entity which owns, or operates a supermarket; 42 U.S.C. §12182, §12181(7)(E);

    28 C.F.R. §36.104(5).

           11.     Due to the close proximity of Plaintiff’s home to the 3275 SW 22nd Street

    Winn Dixie supermarket, on May 30, 2021 Plaintiff went to that Winn Dixie with the intent

    of purchasing groceries.

           12.     During his shopping excursion, Plaintiff has occasion to use the restroom

    within the supermarket and while using said restroom, he encountered multiple areas of

    inaccessibility due to the fact that he perambulates with the assistance of a wheelchair.

           13.     Based on the access impediments within the Winn Dixie supermarket

    restroom, Plaintiff has been denied full and equal access by the operator/lessee of the Winn




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    Dixie (Defendant Supermarket) and by the owner/lessor of the commercial property which

    houses the supermarket (Defendant Morris Tract).

            14.       Because Defendant Supermarket owns and operates five hundred

    supermarkets, it must be aware of the ADA and the need to provide for equal access in all

    areas of its supermarkets. Therefore, Defendant Supermarket’s failure to reasonably

    accommodate mobility impaired and disabled patrons by ensuring that its Winn Dixie

    supermarket located at 3275 SW 22nd Street is fully accessible is/was willful, malicious, and

    oppressive and in complete disregard for the Civil Rights of the Plaintiff and in violation of

    28 C.F.R. §36.303.

            15.       As the owner of commercial real property which is operated as a supermarket

    open to the public, Defendant Morris Tract is also a “Public Accommodation” pursuant to

    42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(5). On information and belief, as an investor

    and owner of a large commercial property being used as a public accommodation,

    Defendant Morris Tract is aware of the ADA and the need to provide for equal access in all

    areas of its commercial properties which are open to the public. Therefore, Defendant

    Morris Tract’s failure to reasonably accommodate mobility impaired and disabled patrons

    by ensuring that its commercial property is fully accessible is/was willful, malicious, and

    oppressive and in complete disregard for the Civil Rights of the Plaintiff and in violation of

    28 C.F.R. §36.303.

            16.       As a result of the joint and several discrimination by Defendants, Plaintiff

    has suffered loss of dignity, mental anguish and other tangible injuries and has suffered an

    injury-in-fact.




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           17.     Plaintiff continues to desire to patronize the Winn Dixie supermarket located

    at 3275 SW 22nd Street, but continues to be injured in that he continues to be discriminated

    against due to the barriers to access within that place of public accommodation, all which

    are in violation of the ADA.

           18.     Any and all requisite notice has been provided.

           19.     Plaintiff has been obligated to retain the civil rights law office of J. Courtney

    Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of

    this cause, including costs and expenses incurred. Plaintiff is entitled to recover those

    attorney’s fees, costs and expenses from the Defendants pursuant to 42 U.S.C. §12205.

                   COUNT I – VIOLATIONS OF TITLE III OF THE ADA

           20.     The ADA was enacted and effective as of July 26, 1990 and ADA legislation

    has been protecting disabled persons from discrimination due to disabilities since that time.

    Since 30 years have passed since enactment of the ADA, public accommodations and places

    of public accommodation have had adequate time for compliance.

           21.     Congress explicitly stated that the purpose of the ADA was to:

           (i)     provide a clear and comprehensive national mandate for the
                    elimination of discrimination against individuals with disabilities;
           (ii)    provide clear, strong, consistent, enforceable standards addressing
                    discrimination against individuals with disabilities; and,
           (iii)   invoke the sweep of congressional authority, including the power to
                    enforce the fourteenth amendment and to regulate commerce, in
                    order to address the major areas of discrimination faced on a daily
                    by people with disabilities.

                   42 U.S.C. §12101(b)(1)(2) and (4).

           22.     Prior to the filing of this lawsuit, Plaintiff personally visited the Winn Dixie

    at Coral Way in order to purchase groceries, however Plaintiff was denied adequate

    accommodation because, as a disabled individual who utilizes a wheelchair for mobility,



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    Plaintiff met architectural barriers when he went to the restroom at the supermarket.

    Therefore, Plaintiff has suffered an injury in fact.

           23.     Defendant Supermarket (lessee/operator of the Winn Dixie at Coral Way)

    and Defendant Morris Tract (the owner/lessor of the real property housing that Winn Dixie

    supermarket) have discriminated (and continue to discriminate) against Plaintiff by denying

    full and equal access to, and full and equal enjoyment of, goods, services, facilities,

    privileges, advantages and/or accommodations at the supermarket, in derogation of 42

    U.S.C. §12101 et. seq., and as prohibited by 42 U.S.C. §12182 et. seq. by failing to barriers

    to access pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal is readily

    achievable.

           24.     Plaintiff has been unable to, and continues to be unable to, enjoy full and

    equal safe access to, and the benefits of, the accommodations and services offered at the

    Winn Dixie supermarket located at 3275 SW 22nd Street.

           25.     Defendants are jointly and singularly governed by the ADA and must be in

    compliance therewith. Defendants have jointly and severally discriminated against Plaintiff,

    a disabled patron, in derogation of 28 C.F.R. Part 36.

           26.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as

    amended), the Department of Justice, Office of the Attorney General, promulgated Federal

    Regulations to implement the requirements of the ADA, known as the Americans with

    Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

    which said Department may obtain civil penalties of up to $75,000 for the first violation and

    $150,000 for any subsequent violation.




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            27.    The commercial space which is owned by Defendant Morris Tract

    (owner/lessor) which houses the subject Winn Dixie supermarket is operated by Defendant

    Supermarket (lessee). This commercial space is in violation of 42 U.S.C. §12181 et. seq.,

    the ADA and 28 C.F.R. §36.302 et. seq., and both the owner/lessor and the lessee are

    discriminating against the Plaintiff as a result of inter alia, the following specific violations:

       i.   As to Defendant Supermarket (lessee/operator) and Defendant Morris Tract

            (owner/lessor of the property) (jointly and severally), Plaintiff could not open the

            restroom door without assistance, as the required maneuvering clearance on the pull

            side of the door is not provided due to an encroaching item (a trash bin). This is a

            violation of 4.13.6 of the ADAAG and Section 404.2.4 of the 2010 ADA Standards

            for Accessible Design. Section 4.13.6 states that the minimum maneuvering

            clearances for doors be within specifications shown in Fig. 25 and that the ground

            floor within the required clearance be level and clear.         The clear maneuvering

            clearance for a front approach must be 48 min (and for side approach, 54 by 42 min),

            which not attained in the instant case.

      ii.   As to Defendant Supermarket (lessee/operator) and Defendant Morris Tract

            (owner/lessor of the property) (jointly and severally), Plaintiff had difficulty closing

            the stall door, as it is missing pull handles, in violation of Sections 4.27.4 of the

            ADAAG and Sections 604.8.1.2 of the 2010 ADA Standards of Accessible Design,

            as the toilet compartment (stall) door does not provide pull handles on both sides of

            the door near the latch.

     iii.   As to Defendant Supermarket (lessee/operator) and Defendant Morris Tract

            (owner/lessor of the property) (jointly and severally), Plaintiff could not transfer to




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           the toilet without assistance, as the required maneuvering clearance was not provided

           due to the encroaching item (trash can). The fact that the trash bin is encroaching

           over the accessible water closet clear floor space is a violation of Section 4.16.2 of

           the ADAAG and Sections 604.3.1 of the 2010 ADA Standards for Accessible

           Design.

     iv.   As to Defendant Supermarket (lessee/operator) and Defendant Morris Tract

           (owner/lessor of the property) (jointly and severally), Plaintiff could not transfer to

           the toilet without assistance, as the side wall grab bar does not have the required

           clearance as the toilet tissue dispenser is mounted over the side wall grab bar which

           infringes on the required space. This is a violation of Section 609.3 of the 2010 ADA

           Standards for Accessible Design.

      v.   As to Defendant Supermarket (lessee/operator) and Defendant Morris Tract

           (owner/lessor of the property) (jointly and severally), Plaintiff could not use the

           lavatory mirror without assistance, as the lavatory mirror (outside the stall) is

           mounted too high, which is in violation of Section 213.3.5 of 28 C.F.R. Part 36,

           Section 4.19.6 of the ADAAG, and Section 603.3 of the2010 ADA Standards for

           Accessible Design.

           28.    Pursuant to 42 U.S.C. §12101et seq., and 28 C.F.R. §36.304, the Defendants

    are required to make the subject Winn Dixie supermarket accessible to persons with

    disabilities since January 28, 1992. Defendants have jointly and severally failed to comply

    with this mandate.

           29.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

    Plaintiff injunctive relief, including an order to alter the commercial property and the




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    supermarket therein such that it is made readily accessible to, and useable by, individuals

    with disabilities to the extent required by the ADA.

           WHEREFORE, Plaintiff Jesus Gonzalez hereby demands judgment against

    Defendant The Morris Tract Corp (owner and lessor of the commercial property operated as

    a Winn Dixie supermarket) and Defendant Winn-Dixie Stores, Inc. (lessee and operator of

    the Winn Dixie supermarket located within the co-Defendant’s commercial property) and

    requests the following relief:

              a)        The Court declare that Defendants have violated the ADA;

              b)        The Court enter an Order directing Defendants to evaluate and neutralize

              their policies, practices and procedures toward persons with disabilities,

              c)        The Court enter an Order requiring Defendants to alter the commercial

              property and Winn Dixie located at 3275 SW 22nd Street such that it becomes

              accessible to and usable by individuals with disabilities to the full extent required

              by the Title III of the ADA;

              d)        The Court award reasonable costs and attorneys fees; and

              e)        The Court award any and all other relief that may be necessary and

              appropriate.

    Dated this 21st day of June 2021.

                                                 Respectfully submitted,

                                                 /s/ J. Courtney Cunningham
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